Case 19-61688-wlh   Doc 110-3 Filed 09/10/19 Entered 09/10/19 15:15:27   Desc
                      Exhibit C - Sale Notice Page 1 of 4


                                EXHIBIT C

                              SALE NOTICE
    Case 19-61688-wlh        Doc 110-3 Filed 09/10/19 Entered 09/10/19 15:15:27                         Desc
                               Exhibit C - Sale Notice Page 2 of 4


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                 Debtors.                            )           Jointly Administered
                                                     )

NOTICE OF (I) SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE
    AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES;
     (II) AUCTION; AND (III) FINAL SALE HEARING RELATED THERETO

PLEASE TAKE NOTICE OF THE FOLLOWING

        1.     On July 30, 2019 (the “Petition Date”), Eat Here Brands, LLC, Babalu Atlanta #1
LLC, Babalu Atlanta #2 LLC, Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu
Memphis #2 LLC, Babalu, LLC, and Babalu Birmingham #1 LLC (collectively, the “Debtors”)
each filed voluntary petitions under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern District of
Georgia (the “Court”). On September 10, 2019, the Debtors filed with the Court a motion
[Docket No.          ] (the “Sale Motion”) seeking, among other things, (a) authority to sell
substantially all of the assets (the “Assets”) of the Debtors free and clear of all liens, claims,
interests, and encumbrances (the “Sale”); (b) approval of certain bidding procedures
(the “Bid Procedures”) for the solicitation of bids with respect to the proposed Sale of the Assets
(the “Bid Procedures Relief”); (c) scheduling an auction related to the proposed Sale of the
Assets; and (d) scheduling a final hearing with the Court for approval of the proposed Sale of
the Assets.

        2.    The Debtors and Balu Holdings, LLC (the “Stalking Horse Bidder”) (collectively
with the Debtors, the “Parties”) have entered into that certain Asset Purchase Agreement, dated
September 9, 2019 (including all exhibits, schedules, and ancillary agreements related thereto,
and as may be amended, supplemented, and/or modified from time to time, the “APA”), which
contemplates the purchase of substantially all of the Debtors’ assets, subject to higher and better
offers made pursuant to the Bid Procedures.

      3.      On September 26, 2019 at 1:30 p.m., the Court held a hearing on the Bid
Procedures Relief, and thereafter the Court entered an order that, among other things, approved


1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



13984099v1
    Case 19-61688-wlh       Doc 110-3 Filed 09/10/19 Entered 09/10/19 15:15:27                      Desc
                              Exhibit C - Sale Notice Page 3 of 4


the Bid Procedures Relief [Docket No.        ] (the “Bid Procedures Order”).2        The Bid
Procedures Order established the Bid Procedures that govern the manner in which the Assets are
to be sold. All bids must comply with the Bid Procedures and be submitted so as to be
received by Debtors’ counsel of record, Arnall Golden Gregory LLP, 171 17th Street,
N.W., Suite 2100, Atlanta, Georgia 30363-1031, 404-873-8500, Attn. Darryl Laddin not
later than 4:00 p.m. (prevailing Eastern Time) on October 10, 2019.

       4.     Pursuant to the Bid Procedures, each Qualified Bidder (as defined in the Bid
Procedures) shall be invited to participate in an auction (the “Auction”) at the office of Debtors’
counsel of record, Arnall Golden Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta,
Georgia 30363-1031, which Auction must be attended in person and which shall commence
at 10:00 a.m. (Eastern) on October 16, 2019. Any party interested in submitting a competing
bid should contact Debtors’ counsel of record, Arnall Golden Gregory LLP, 171 17th Street,
N.W., Suite 2100, Atlanta, Georgia 30363-1031, 404-873-8500, Attn. Darryl Laddin.

        5.     Pursuant to the Bid Procedures Order, the Court scheduled a final hearing to
consider approval of the proposed Sale of the Assets in Courtroom 1403, United States
Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303 on October 18, 2019 at : .m.
(Eastern) (the “Sale Hearing”). At the Sale Hearing the Court will consider the approval of
the APA or any higher and better offer by a Qualified Bidder (the “Successful Bidder”),
including the proposed assumption, assignment and/or transfer of the Designated Executory
Contracts. The Sale Hearing may be adjourned or rescheduled from time to time without further
notice other than an announcement by the Debtors in the Court of such adjournment on the date
scheduled for the Sale Hearing.

       6.    OBJECTIONS TO ANY RELIEF REQUESTED IN THE SALE MOTION,
INCLUDING DEBTORS’ REQUEST TO APPROVE THE SALE OF THE ASSETS
FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES
TO THE SUCCESSFUL BIDDER (EACH, AN “OBJECTION”), MUST BE MADE IN
WRITING, FILED, AND SERVED ON THE PARTIES SET FORTH BELOW BY
4:00 P.M. (EASTERN) ON OCTOBER 15, 2019 (THE “OBJECTION DEADLINE”).

       7.      ANY OBJECTION MUST BE SERVED IN ACCORDANCE WITH THE
PRECEDING PARAGRAPH ON EACH OF THE FOLLOWING PARTIES: (a) counsel to
the Debtors, Arnall Golden Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta, Georgia
30363-1031, Attn: Darryl Laddin; (b) counsel to the Stalking Horse Bidder, 999 S. Shady Grove
Road, Suite 500, Memphis, Tennessee 38120, Attn: John A. Bobango; (c) counsel for Origin
Bank, Morris, Manning & Martin, LLP, 3343 Peachtree Road, N.E., Suite 1600, Atlanta,
Georgia 30326, Attn. Frank W. DeBorde, (d) counsel for the Official Committee of Unsecured
Creditors, Scroggins & Williamson, P.C., 4401 Northside Parkway, Suite 450, Atlanta, Georgia
30327, Attn. Hayden Kepner, Jr.; and (e) the Office of the United States Trustee, 75 Ted Turner
Drive, S.W., Room 362, Atlanta, Georgia 30303.




2
        All capitalized terms not defined in this Notice of Sale shall have the meaning given to them in the
Bid Procedures Order.


13984099v1                                           2
 Case 19-61688-wlh       Doc 110-3 Filed 09/10/19 Entered 09/10/19 15:15:27                 Desc
                           Exhibit C - Sale Notice Page 4 of 4


        8.      The failure of any person or entity to file an Objection on or before the Objection
Deadline shall be deemed a consent to the Sale of the Assets to the Successful Bidder and the
other relief requested in the Sale Motion, and be a bar to the assertion, at the Sale Hearing or
thereafter, of any objection to the Bid Procedures Relief, the Sale Motion, the Auction, the sale
of the Assets, the Debtors’ consummation and performance of the APA or other agreement with
a different Successful Bidder (including in any such case, without limitation, the transfer of the
Assets free and clear of all liens, claims, interests, and encumbrances).

       9.     This Notice of Sale is subject to the full terms and conditions of the Sale Motion,
the Bid Procedures Order, and the Bid Procedures, which shall control in the event of
any conflict.

        10.   The Debtors encourage creditors and parties in interest to review the Sale Motion,
the Bid Procedures Order, and the Bid Procedures. You may request a copy of the Sale Motion
by contacting Debtor’s counsel by U.S. Mail at Arnall Golden Gregory LLP, 171 17th Street,
N.W., Suite 2100, Atlanta, Georgia 30363-1031, Attn: Darryl Laddin, by e-mail at
darryl.laddin@agg.com, or by telephone at (404) 873-8500.

       11.      Your rights may be affected by the Court’s ruling on the Sale Motion. You
should read the Sale Motion carefully and discuss them with your attorney, if you have one in
these Bankruptcy Cases. (If you do not have an attorney, you may wish to consult one.) If you
do not want the Court to grant the relief sought in the Sale Motion or if you want the Court to
consider your views on the Sale Motion, then you and/or your attorney must file an Objection by
the Objection Deadline and comply with the procedures for such Objection set forth in this
Notice of Sale.

Dated September       , 2019

                                             ARNALL GOLDEN GREGORY LLP

                                             /s/ Darryl S. Laddin
                                             Darryl S. Laddin
                                             Georgia Bar No. 460793
                                             Sean C. Kulka
                                             Georgia Bar No. 648919
                                             171 17th Street, N.W., Suite 2100
                                             Atlanta, Georgia 30363-1031
                                             Phone: (404) 873-8500
                                             Fax: (404) 873-8683
                                             Email: darryl.laddin@agg.com
                                             Email: sean.kulka@agg.com

                                             Attorneys for Debtors and Debtors in Possession




13984099v1                                      3
